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                     EXHIBIT A
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July 5, 2013

VIA E-MAIL

Ben Watson
Butler, Snow, O'Mara, Stevens & Cannada, PLLC
1020 Highland Colony Parkway
Suite 1400
Ridgeland, MS 39158-6010

       RE:     In re: Ethicon, Inc. Pelvic Repair System
               Products Liability Litigation MDL No. 2327

Dear Ben:

         As you know, and as I stated in my letter of July 1, 2013, our Motion to Compel takes the
position that your client has waived its objections. Specifically, by answering discovery “subject
to” objections and by responding to discovery with boilerplate objections. Under these
circumstances, it defies logic to suggest that we should surrender our waiver arguments, among
others, so that your client can continue to assert objections to discovery. Moreover, we do not
envision your latest supplemental responses (filed only after the Motion to Compel had been
filed) as a viable escape hatch to avoid a ruling on the motion. Not only are such procedural
tactics frowned upon by courts, but your client cannot avoid the consequences of its actions by
attempting to undo its putative acts of waiver.

        This is particularly true here, where: (1) we had made clear since the very beginning in
our multiple meet and confer sessions that “subject to” and boilerplate objections were improper
under the rules; (2) your responses served on April 8th were served many weeks late, and only
after we had to threaten to file a motion to compel; (3) we had made clear prior to these
responses that this would be our “final” meet and confer on these issues; and (4) we had
specifically requested on multiple occasions and in writing that you make the responses that were
eventually served on April 8th your “best and final and best efforts to comply” and the “most
your clients are willing to do following our extensive meet and confers…” See emails from
March 19, 2013 and April 6, 2013, attached hereto.
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Mr. Ben Watson
July 5, 2013
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       Thus, unless your client is willing to waive all of its objections to discovery as argued in
our motion, I do not see any meaningful purpose in engaging in further meet and confers on this
issue. The matter has been fully briefed and is ripe for review.

       We have contacted Laura about potential dates to hear this matter and the following dates
and times work with the Court and our schedules for either an in-person or a telephonic hearing:
July 11th (any time), July 12th (early to mid-afternoon), and July 17th (from 11:30 a.m. into the
afternoon). Please let us know if any of these dates or times work for you.

Sincerely,




Bryan Aylstock

cc:    Tom Cartmell (via email)
       Renee Baggett (via email)
       Christy Jones (via email)
